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  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13
       IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (JEMx)
  14   LEAGUE’S “SUNDAY TICKET”
       ANTITRUST LITIGATION                   NON-PARTY APPLE INC.’S
  15                                          APPLICATION UNDER LOCAL
       THIS DOCUMENT RELATES TO               RULE 79-5 TO SEAL PORTIONS
  16   ALL ACTIONS                            OF ITS STATEMENT
                                              REGARDING PLAINTIFFS’
  17                                          MOTION TO TAKE LIMITED
                                              DISCOVERY AFTER THE
  18                                          DEADLINE FOR FACT
                                              DISCOVERY
  19
                                              Judge: Hon. Philip S. Gutierrez
  20
                                              Discovery Cutoff Date: 8/5/2022
  21                                          Pretrial-Conference Date: 2/9/2024
                                              Trial Date: 2/22/2024
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   1         TO THE ABOVE-CAPTIONED COURT AND TO ALL PARTIES AND
   2   THEIR COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that pursuant to Civil Local Rule 79-5.2.2(a), non-
   4   party Apple Inc., by and through its undersigned counsel, respectfully submits this
   5   application requesting the Court seal the following documents lodged concurrently
   6   herewith:
   7         1. The unredacted version of Non-Party Apple Inc.’s Statement Regarding
   8               Plaintiffs’ Motion to Take Limited Discovery After the Deadline for Fact
   9               Discovery;
  10         2. The unredacted Declaration of Bethany Stevens in Support of Non-Party
  11               Apple Inc.’s Statement Regarding Plaintiffs’ Motion to Take Limited
  12               Discovery After the Deadline for Fact Discovery (“Stevens Declaration”);
  13         3. Exhibit A to the Stevens Declaration; and
  14         4. Exhibit B to the Stevens Declaration.
  15         While courts historically have recognized a general right of the public to
  16   access court records, the Ninth Circuit has “carved out an exception to the
  17   presumption of access to judicial records ... [that is] expressly limited to judicial
  18   records filed under seal when attached to a non-dispositive motion.” See In re High-
  19   Tech Emp. Antitrust Litig., No. 11-CV-02509-LHK, 2013 WL 163779, at *2 (N.D.
  20   Cal. Jan. 15, 2013). Accordingly, a party seeking to seal materials related to non-
  21   dispositive motions must show cause rather than the more restrictive “compelling
  22   need” standard that applies in connection with dispositive motions. See Linex
  23   Techs., Inc. v. Hewlett–Packard Co., No. C 13–159 CW, 2014 WL 6901744, at *1
  24   (N.D. Cal. Dec. 8, 2014).
  25         Here, good cause exists to grant Apple’s request to seal because the subject
  26   information is non-public, commercially sensitive information, the disclosure of
  27   which could harm Apple. As the Supreme Court has recognized, sealing may be
  28   appropriate to prevent judicial documents from being used “as sources of business
                                                   1
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   1   information that might harm a litigant’s competitive standing.” Nixon v. Warner
   2   Comms., Inc., 435 U.S. 589, 598 (1978). Accordingly, courts routinely seal
   3   information where disclosure could harm a litigant’s competitive standing. See, e.g.,
   4   Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1225 (Fed. Cir. 2013) (applying
   5   Ninth Circuit law and stating that “it seems clear that if Apple’s and Samsung’s
   6   suppliers have access to their profit, cost, and margin data, it could give the
   7   suppliers an advantage in contract negotiations, which they could use to extract
   8   price increases for components.”).
   9         The sensitivity of the information Apple requests to be sealed via this
  10   Application is detailed in the sealed Declaration of Steve Smith, submitted in
  11   opposition to Plaintiffs’ Motion to Compel. (See Dkt. No. 491-12.) Apple’s instant
  12   request is thus consistent with the Court’s prior orders sealing similar portions of
  13   the briefing on Plaintiffs’ Motion to Compel. (See Dkt. Nos. 490, 498, 505, 554.)
  14         For the foregoing reasons, Apple requests that the Court seal and redact the
  15   documents as indicated in the Proposed Order submitted herewith.
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          Dated: July 29, 2022                 Respectfully submitted,
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  18                                           WALKER STEVENS CANNOM LLP
  19                                                  /s/ Bethany Stevens
                                                       Bethany Stevens
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                                               Attorneys for Non-Party Apple Inc.
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